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                                   3                                   UNITED STATES DISTRICT COURT

                                   4                               NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7     SKILLZ PLATFORM INC.,                              Case No. 21-cv-02436-BLF
                                   8                      Plaintiff,
                                                                                            ORDER RE: MOTION TO REOPEN
                                   9             v.                                         DISCOVERY AND FOR SANCTIONS
                                  10     AVIAGAMES INC.,                                    [Re: ECF No. 208, 209]
                                  11                      Defendant.

                                  12
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                                  13          Plaintiff Skillz Platform Inc. (“Skillz”) brings this patent infringement action against

                                  14   Defendant AviaGames Inc. (“AviaGames”). Before the Court is Skillz’s motion to reopen

                                  15   discovery for the limited purpose of investigating AviaGames’ use of “bots” in its Pocket7Games

                                  16   platform and to impose sanctions against AviaGames for the knowingly false testimony of two of

                                  17   its senior witnesses. ECF Nos. 208, 209. The Court held a hearing on August 15, 2023. Skillz

                                  18   filed a proposed discovery plan on August 18, 2023. ECF No. 215. AviaGames filed objections

                                  19   to Skillz’s discovery plan on August 21, 2023. ECF No. 221.

                                  20          For the reasons discussed below, the Court GRANTS Skillz’s request to reopen discovery

                                  21   and DENIES without prejudice Skillz’s request to impose sanctions. However, the Court rejects

                                  22   Skillz’s proposed discovery plan as too extensive and instead orders more limited discovery as

                                  23   described below.

                                  24     I.   BACKGROUND
                                  25          At a deposition on May 17, 2023, AviaGames’ VP of Products, Jamie Leung, testified that

                                  26   matches in Pocket7Games are always between two or more human players. ECF No. 208-2 at

                                  27   72:10–21. Similarly, at a deposition on May 20, 2023, AviaGames’ founder and CEO, Vickie

                                  28   Chen, testified that AviaGames does not use “bots” (i.e., nonhuman players) in its Pocket7Games
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                                   1   platform. ECF No. 208-3 at 177:7–180:13. However, shortly before fact discovery closed on

                                   2   May 25, 2023, AviaGames produced instant messages from the “Lark” messaging platform that

                                   3   appear to suggest that AviaGames uses bots in its Pocket7Games platform and that Leung and

                                   4   Chen were aware that AviaGames uses bots. See, e.g., ECF No. 208 at 4–5.

                                   5    II.   REOPENING DISCOVERY
                                   6          Pretrial deadlines may be modified “only for good cause and with the judge’s consent.”

                                   7   Fed R. Civ. P. 16. Courts consider the following factors in determining whether there is good

                                   8   cause to re-open discovery:

                                   9                  1) whether trial is imminent, 2) whether the request is opposed, 3)

                                  10                  whether the non-moving party would be prejudiced, 4) whether the

                                  11                  moving party was diligent in obtaining discovery within the

                                  12                  guidelines established by the court, 5) the foreseeability of the need
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                                  13                  for additional discovery in light of the time allowed for discovery by

                                  14                  the district court, and 6) the likelihood that the discovery will lead to

                                  15                  relevant evidence.

                                  16   See, e.g., Bookhamer v. Sunbeam Prod., Inc., No. C-09-6027, 2012 WL 5269677, at *6–7 (N.D.

                                  17   Cal. Oct. 23, 2012) (citing U.S. ex rel. Schumer v. Hughes Aircraft Co., 63 F.3d 1512, 1526 (9th

                                  18   Cir. 1995) vacated on other grounds, 520 U.S. 939 (1997)). A “good cause determination focuses

                                  19   primarily on the diligence of the moving party in his attempts to complete discovery in a timely

                                  20   manner.” Yeager v. Yeager, No. 2:06-CV-001196, 2009 WL 1159175, at *2 (E.D. Cal. Apr. 29,

                                  21   2009) (citing Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992)). “If [the

                                  22   party seeking the modification] was not diligent, the inquiry should end there.” See Johnson, 975

                                  23   F.2d at 609.

                                  24          Skillz argues that it was diligent because AviaGames witnesses made false statements

                                  25   under oath and Skillz worked quickly to review AviaGames’ Lark messages. ECF No. 208 at 5–8.

                                  26   AviaGames responds that Skillz was not diligent because AviaGames’ source code, which

                                  27   AviaGames produced in December 2021,                                                       ECF No. 218

                                  28   at 5–6. AviaGames also denies the allegation that it uses bots in its cash games and argues that
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                                   1   Skillz should not be permitted to introduce new infringement theories this late in the case. Id. at

                                   2   3–4, 7–8.

                                   3          The Court finds that Skillz was diligent. On May 5, 2023, AviaGames produced Chinese-

                                   4   language instant messages from the “Lark” messaging platform. ECF No. 208-18 ¶¶ 3, 7.

                                   5   AviaGames originally produced these documents in a format that did not include images or

                                   6   embedded content. Id. On May 10, 2023, AviaGames produced the Lark messages in their native

                                   7   file format. Id. This file format was unreadable for Skillz, and Skillz retained a third-party to

                                   8   convert the files into a reviewable format. Id. at ¶ 5. Skillz did not have readable versions of the

                                   9   Lark messages until May 19, 2023. Id. at ¶ 6. At this point, Leung’s deposition had already

                                  10   passed and Skillz had only a day to translate and review 18,467 documents before Chen’s

                                  11   deposition on May 20, 2023. See id. at ¶ 3. Because of the file format, batched machine

                                  12   translation of the documents was not possible, and the messages had to be translated manually and
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                                  13   individually. Id. Further complicating review, the messages refer to bots not as “robots” but as

                                  14   “guides” and “cucumbers.” See ECF Nos. 2085, 208-6, 208-7. Fact discovery in this case closed

                                  15   on May 25, 2023. Skillz brought the instant motion August 11, 2023. ECF No. 208. As this

                                  16   summary of events indicates, Skillz did not delay in converting, translating, or reviewing

                                  17   AviaGames’ Lark messages. Skillz converted the messages into a readable format between 10 and

                                  18   15 days of receipt. Moreover, Skillz translated and reviewed the messages and filed the instant

                                  19   motion in less than 3 months.

                                  20          Although there may be some indication that AviaGames’ source code

                                  21          the Court still finds good cause for limited discovery. Trial is not imminent—the trial date

                                  22   is four months away, and there is ample time to conduct limited discovery on this discrete issue.

                                  23   Although AviaGames opposes the motion, it is not prejudiced because trial is four months away

                                  24   and Skillz seeks only limited discovery. The potential need for additional discovery on this issue

                                  25   was not reasonably foreseeable, and thus weighs slightly in favor of reopening, because the

                                  26   relevant Lark messages were not produced until shortly before the close of discovery. Moreover,

                                  27   evidence that AviaGames uses bots might be relevant to direct infringement if, for example, Skillz

                                  28   can show that AviaGames’ bots receive game data at a client in the United States. The use of bots
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                                   1   might also be relevant to damages if, for example, Skillz can show that AviaGames used bots to

                                   2   increase its revenue. Thus, upon considering the relevant factors, the Court finds good cause to

                                   3   GRANT Skillz’s request to re-open discovery for the limited purpose of permitting Skillz to

                                   4   conduct discovery on whether AviaGames uses bots in its Pocket7Games platform. See Johnson,

                                   5   975 F.2d at 609 (“The district court may modify the pretrial schedule ‘if it cannot reasonably be

                                   6   met despite the diligence of the party seeking the extension.’” (quoting Fed. R. Civ. P. 16 advisory

                                   7   committee's notes (1983 amendment))).

                                   8            However, the Court finds that Skillz’s proposed discovery plan, ECF No. 215, is too vast,

                                   9   would likely delay the trial date, and is not warranted given the limited nature of the issue on

                                  10   which it seeks discovery. The Court will instead allow the discovery set forth at the end of this

                                  11   Order.

                                  12   III.     SANCTIONS
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                                  13            “Federal courts possess certain ‘inherent powers,’ not conferred by rule or statute, ‘to

                                  14   manage their own affairs so as to achieve the orderly and expeditious disposition of cases.’” Am.

                                  15   Unites for Kids v. Rousseau, 985 F.3d 1075, 1088 (9th Cir. 2021) (quoting Goodyear Tire &

                                  16   Rubber Co. v. Haeger, 581 U.S. 101, 107 (2017)). “That authority includes ‘the ability to fashion

                                  17   an appropriate sanction for conduct which abuses the judicial process.’” Id. (quoting Goodyear,

                                  18   581 U.S. at 107). “When acting under its inherent authority to impose a sanction, as opposed to

                                  19   applying a rule or statute, a district court must find either: (1) a willful violation of a court order;

                                  20   or (2) bad faith.” Id. at 1090. “[B]ad faith, including conduct done vexatiously, wantonly, or for

                                  21   oppressive reasons, requires proof of bad intent or improper purpose.” Id.; Primus Auto. Fin.

                                  22   Servs., Inc. v. Batarse, 115 F.3d 644, 648 (9th Cir. 1997) (“Before awarding sanctions under its

                                  23   inherent powers, however, the court must make an explicit finding that counsel’s conduct

                                  24   ‘constituted or was tantamount to bad faith.’” (quoting Roadway Exp., Inc. v. Piper, 447 U.S. 752,

                                  25   767 (1980))).

                                  26            Skillz argues that AviaGames should be sanctioned because Chen and Leung testified

                                  27   falsely about AviaGames’ use of bots. ECF No. 208 at 8–9. AviaGames argues that it does not

                                  28   use bots in its cash games and thus Chen and Leung testified truthfully. ECF No. 218 at 3–4.
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                                   1          At this stage, the Court finds that insufficient evidence has been submitted for it to

                                   2   determine whether Chen’s and Leung’s testimonies were false and whether any falsehoods were

                                   3   submitted knowingly or otherwise constituted conduct in bad faith or tantamount to bad faith. Cf.

                                   4   Am. Rena Int’l Corp. v. Sis-Joyce Int’l Co., No. CV126972FMOJEMX, 2015 WL 12732433, at

                                   5   *25 (C.D. Cal. Dec. 14, 2015) (finding bad faith where the defendants knowingly filed false

                                   6   declarations). Thus, the Court DENIES without prejudice Skillz’s request for sanctions.

                                   7   IV.    ORDER
                                   8          For the foregoing reasons, IT IS HEREBY ORDERED that:

                                   9          1.     Plaintiff Skillz Platform Inc’s Motion to Reopen Discovery and for Sanctions, ECF

                                  10   No. 208, is GRANTED in part and DENIED in part without prejudice. The Court will permit

                                  11   limited discovery on the issue of whether AviaGames uses bots in its Pocket7Games platform as

                                  12   follows:
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                                  13                 a. AviaGames shall produce all documents and communications, including source

                                  14                     code, that refer to, bear on, or relate to AviaGames’ or Pocket7Games’ use of

                                  15                     bots (including, but not limited to, all documents and communications that refer

                                  16                     to, bear on, or relate to Avia’s use, directly or indirectly, of bots, robots,

                                  17                     cucumbers, guides, any artificial or computer-enabled virtual player, or any

                                  18                     other naming convention used by Avia to refer to the same).

                                  19                 b. AviaGames shall produce all documents and communications from all sources,

                                  20                     including but not limited to Lark, WeChat, messaging on personal devices and

                                  21                     any other messaging platforms used by AviaGames and AviaGames’

                                  22                     employees regarding AviaGames’ or Pocket7Games’ business practices, that hit

                                  23                     on the original search terms and the search terms contained in Schedule A of

                                  24                     Skillz’s proposed discovery plan. See ECF No. 215.

                                  25                 c. Skillz may propound, and AviaGames shall answer up to 3 interrogatories

                                  26                     limited to AviaGames’ use of bots. Skillz will not be permitted to propound

                                  27                     requests for admission.

                                  28                 d. Skillz may serve a supplemental 30(b)(6) corporate deposition notice regarding
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                                   1               AviaGames’ use of bots, and Skillz may take an additional deposition of

                                   2               AviaGames under Rule 30(b)(6) not to exceed 3 hours (AviaGames may

                                   3               designate more than one witness to address the topics in the 30(b)(6) notice,

                                   4               and the total time that the individuals may be deposed may not exceed 3 hours)

                                   5               and up to 1 deposition of an individual witness not to exceed 3 hours.

                                   6            e. Skillz may file 1 supplemental expert report that is strictly limited to

                                   7               AviaGames’ use of bots and consistent with previously disclosed infringement

                                   8               and damages theories. AviaGames may file 1 rebuttal expert report limited to

                                   9               only issues identified in Skillz’s supplemental expert report.

                                  10            f. Any amended complaint must be accompanied by a motion for leave to amend

                                  11               and a copy of the proposed amended complaint. The Court DENIES without

                                  12               prejudice Skillz’s request to file an amended complaint sight unseen.
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                                  13            g. The Court hereby ORDERS the following deadlines:
                                                                          EVENT                     DEADLINE
                                  14
                                                      AviaGames to Complete Production of           9/5/2023
                                  15                  Documents Responsive to the Discovery in
                                                      Items Above
                                  16                  Responses to Interrogatories                  9/5/2023
                                                      Skillz to Serve 30(b)(6) Notice on AviaGames 9/15/2023
                                  17                  Skillz to Notice Individual Deposition        9/15/2023
                                  18                  AviaGames to Designate 30(b)(6)               9/20/2023
                                                      Representative(s)
                                  19                  Depositions to be Completed                   9/29/2023
                                                      Skillz to Serve Supplemental Expert Report    10/9/2023
                                  20                  Fed. R. Civ. P. 26(a)(3) Disclosures          10/12/2023
                                  21                  Motions in Limine                             10/12/2023
                                                      Motion for Leave to File Amended Complaint 10/16/2023
                                  22                  Oppositions to Motions in LImine              10/19/2023
                                                      AviaGames to Serve Rebuttal Expert Report     10/20/2023
                                  23                  Joint Pretrial Order                          10/26/2023
                                                      Jury Materials                                11/2/2023
                                  24
                                                      Final Pretrial Conference and Hearing on      11/9/2023
                                  25                  Motions in Limine and Daubert motions
                                                      Trial Briefs                                  11/27/2023
                                  26                  Trial Date                                    12/4/2023
                                  27            h. The Court hereby DENIES all other requests set forth in Skillz’s proposed
                                  28               discovery plan. See ECF No. 215.
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                                   1          2.     Plaintiff Skillz Platform Inc.’s Motion for Hearing, ECF No. 209, was GRANTED

                                   2   on August 15, 2023 when the hearing was held.

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                                   4   Dated: August 22, 2023

                                   5                                                   ______________________________________
                                                                                       BETH LABSON FREEMAN
                                   6                                                   United States District Judge
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